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IN THE UNrrED sTATEs DISTRICT coURr “ ‘W: D-C-

FoR THE WESTERN DIsTch oF TENNESSEEU _
WESTERN DIVISION 5 JUL l l PH 6~ hl»

 
 

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CLEHK, L.) `

UNITED sTATEs oF AMERICA and ) ` v ‘;j`j’EOURT
MARLENE EADY, REVENUE OFFICER OF ) tri-9 13? ;..,-_ r.-fEt.-€PHIS
the lNrERNAL REVENUE SERVICE, )
)
Petitioner )
v. ) Case No. 05-2133 DV
)
CEDRIC z. CHISM, )
)
Respondent )

 

ORDER RESETTING HEARING ON
PETITION TO ENFORCE IRS SUMMONS

 

Upon motion of the United States for an order resetting the hearing on the Petition to
Enforce IRS Summons and for good cause shown, IT IS THEREFORE

ORDERED that the hearing of this matter shall be continued from July 12, 2005, to the

/3 day of k$€€i'€wb€( . 2005, commencing at g 45 A.m. in Courtroom 3 on the

9th Floor of the Clifford Davis Federal Building, 167 N. Main Street, Memphis, Tennessee.

At such hearing, the Court shall consider Whether it should order enforcement of the
administrative summons of the Internal Revenue Service. If the Respondent opposes judicial
enforcement of such summons, he may appear at such hearing to present to the Court any cause

why the summons should not be enforced.

 

CE B. D
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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-02133 Was distributed by faX, mail, or direct printing on
July 13, 2005 to the parties listed.

 

 

Gary A. Vanasek

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

